262 F.2d 924
    105 U.S.App.D.C. 6
    Carmen FORTIER, Appellant,v.Oveta Culp HOBBY, Secretary, Department of Health, Educationand Welfare, et al., Appellees.Carmen FORTIER, Appellant,v.Clarence HARTMAN, M.D., Appellee.Carmen FORTIER, Appellant,v.Milton MELTZER, M.D., Appellee.
    Nos. 14195-14197.
    United States Court of Appeals District of Columbia Circuit.
    Argued Nov. 24, 1958.Decided Jan. 8, 1959.
    
      Carmen Fortier, pro se.
      Mr. Thomas H. McGrail, Asst. U.S. Atty., with whom Messrs. Oliver Gasch, U.S. Atty., and Carl W. Belcher, Asst. U.S. Atty., were on the brief, for appellees Oveta Culp Hobby, Mary Switzer and Joseph Ellis, in case No. 14,195.
      Mr. Richard W. Barton, Asst. Corp. Counsel for the District of Columbia, with whom Messrs. Chester H. Gray, Corp. Counsel, Milton D. Korman, Principal Asst. Corp. Counsel, and Hubert B. Pair, Asst. Corp. Counsel, were on the brief, for appellees Thomas G. Rathbone and the Commissioners of the District of Columbia, in Case No. 14,195.
      Mr. John A. Earnest, Asst. Corp. Counsel, also entered an appearance for appellees Thomas G. Rathbone and the Commissioners of the District of Columbia, in Case No. 14,195.
      Mr. J. Joseph Barse, Washington, D.C., with whom Messrs. H. Mason Welch, J. Harry Welch, Arthur V. Butler and Walter J. Murphy, Jr., Washington, D.C., were on the brief, for appellee Clearence Hartman, in Case No. 14,196.
      Mr. Samuel Green, Washington, D.C., with whom Mr. Frank Smith, Washington, D.C., was on the brief for appellee Milton Meltzer, in Case No. 14,197.
      Before FAHY, WASHINGTON and BASTIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      These are suits against certain officials of the United States Government and the Government of the District of Columbia, named and sued as individuals, seeking damages for acts performed in their official capacities in relation to appellant's applications for various forms of relief, including vocational rehabilitation.1  The District Court, after reviewing the pleadings, affidavits filed by defendants-appellees, and the testimony given by plaintiff-appellant on deposition, granted summary judgment for appellees.  We agree with the District Court that there was no genuine issue of material fact, and that on the facts adduced appellees are protected by the doctrine of official immunity against liability for damages.  Summary judgment was therefore proper.  Cooper v. O'Connor, 69 App.D.C. 100, 99 F.2d 135, 118 A.L.R. 1440, certiorari denied 1938, 305 U.S. 643, 59 S.Ct. 146, 83 L.Ed. 414; Laughlin v. Rosenman, 1947, 82 U.S.App.D.C. 164, 163 F.2d 838; Taylor v. Glotfelty, 6 Cir., 1952, 201 F.2d 51; Yaselli v. Goff, 2 Cir., 1926, 12 F.2d 396, 56 A.L.R. 239, affirmed 1927, 275 U.S. 503, 48 S.Ct. 155, 72 L.Ed. 395.
    
    
      2
      Affirmed.
    
    
      
        1
         In No. 144,195, the appellees are Mrs. Oveta Culp Hobby, former Secretary, Department of Health, Education and Welfare; Miss Mary Switzer, Director, Federal Office of Vocational Rehabilitation; Thomas Rathbone, Director of the Department of Vocational Rehabilitation of the District of Columbia; Joseph Ellis, Member of the United States Secret Service; and the Commissioners of the District of Columbia.  In No. 14,196, the appellee is Dr. Clarence Hartman, Medical Consultant to the District of Columbia Vocational Rehabilitation Service.  In No. 14,197, the appellee is Dr. Milton Meltzer, Psychiatric Consultant to the District of Columbia Vocational Rehabilitation Service
      
    
    